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             Rights and
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   presenting the student’s view if the records are not amended. A detailed statement of the
   rights and responsibilities of a student under the Act, the location of all records pertaining
   to a student, and the procedures for requesting access are contained in the Brandeis
   University Records Policy. The policy is available from the University Registrar and at
   http://www.brandeis.edu/registrar/bulletin/EducRecordsPolicy.html (see sections
   18.5 and 18.6.l). Brandeis is required by law to provide statistics and narrative
   information about certain confidential information. Personally identifiable information
   will be removed from such communications whenever possible. Note: Any records or
   other evidence retained by the University may be subject to production by court order.


   Section 17. Identifying Concerning Behavior and Initial
   Procedures
   Student Conduct Processes: The PRP and the Special Examiner’s Process

   Applicability: Formal and informal adjudication in support of a student (any person
   enrolled in any academic program or course at Brandeis University [including Brandeis‐
   sponsored distance or Internet‐based courses], up to and including the student’s
   commencement day or the last day of evaluation for non‐degree students) may be
   implemented through the report of an alleged violation or concerning behavior to the
   DSRCS. Reported behaviors will be vetted to determine whether the PRP, the SEP or the
   DOS Office will be the appropriate mechanism/venue for response.

   Behavioral Intervention — The Care Team: Brandeis convenes a team of professionals
   to welcome reports of concerning behavior and to make deliberate decisions about
   appropriate, individualized courses of action for supporting students of concern. The
   team may make referrals to a student conduct process, to a health or wellness resource
   or any other care provider to maximize the student’s well‐being and/or academic and
   social success. The team is coordinated by the Vice President for Health and Wellness and
   the DOS Office.

   Reporting: Where infractions of University standards and policies are involved, reports
   of violations or complaints shall be submitted to the DSRCS from the reporter in a timely
   manner. The Community Standards Report (CSR) is an official reporting mechanism for
   all allegations of a Brandeis student’s possible violation of a standard found in the student
   code, “Rights and Responsibilities.” Only a CSR can initiate a formal adjudication process.
   Any person may submit a CSR, and all CSRs will be reviewed and acted upon
   appropriately. Only Brandeis community members (Brandeis students, staff and faculty)
   may serve as an accuser in the PRP or the SEP. The CSR will be shown, in its entirety, to
   the accused student(s). This report is a web‐based form located at
   http://www.brandeis.edu/studentaffairs/srcs/reporting.html.
   Note: Any records or other evidence retained by the University may be subject to
   production by court order.

   Initial Pre‐process Procedures: Subsequent to the receipt of a CSR, the available facts
   shall be gathered from the reporter, and a careful evaluation of these facts, as well as the
   credibility of the person reporting them, shall be made. The Director of the DSRCS
   (DDSRCS) or the Director of Academic Integrity (DAI) may forward the case to a formal
   adjudication process if the reporter wishes to engage a formal process as an accuser. The
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   DDSRCS must first determine that there is sufficient evidence of a violation, that the
   allegation has merit and is timely. The formal conduct processes include the Peer Review
   Process (PRP), the Special Examiner’s Process (SEP) and University Sanctions found in
   section 21.4. The DOS may appoint, as needed, ad hoc conduct boards in addition to the
   boards described in section 18.

   The formal conduct processes adjudicate different portions of the code. The PRP
   adjudicates alleged violations of academic integrity and various other social policy
   violations unrelated to gender‐based behaviors. The SEP adjudicates all gender‐based
   allegations, including sexual misconduct, domestic violence, dating violence, stalking and
   sexual harassment. University Sanctions address off‐campus behavior or behavior
   anywhere that aggrieves a person who is not a member of the Brandeis community.

   The PRP is administered by the Department of Student Rights and Community Standards,
   in association with the Director of Academic Integrity, when applicable. The SEP is
   administered by the DOS Office. University Sanctions are issued by the DOS Office.

   Confidentiality Policy: Brandeis considers student privacy to be of the highest
   importance. Adjudication processes provide participants with the opportunity to disclose
   sensitive, private or otherwise protected information toward the comprehensive
   consideration of factors that influence findings. This policy exists to balance the
   University’s need to gather necessary information with its interest in protecting all
   participants in any conduct process from privacy violations.

   Any Brandeis student who is involved in any informal or formal adjudication process
   (Misconduct Inquiry, PRP, SEP or University Sanctions) as a principal party or as a
   witness or Advisor is required to respect the privacy of any person about whom
   information is learned during the process.

   All information discussed or provided in a conduct process is considered confidential and
   therefore not sharable beyond a small number of people who may need to know. “Need‐
   to‐know” means that the relationship between the student and the recipient of the
   information is familial, legal or medical (licensed physiological or psychological
   professionals, including the Brandeis Sexual Assault Services and Prevention Specialist).
   In addition, the student’s Advisor in the process or members of the DOS Office or other
   senior administrators, including the Title IX Coordinator, are individuals with whom
   participants may discuss confidential information. The parties are not restricted from
   discussing and sharing information obtained with any person serving as a witness for
   them in the conduct process.
   Accusers and accused students will list, and submit to the DOS, the names of the persons
   who are designated by them as “need‐to‐know.” Need‐to‐know parties will be required
   to sign a statement of understanding that describes this policy and the University’s
   retaliation policies. Written permission from the DOS will be required to disclose
   confidential information to any person/entity outside of the need‐to‐know list.

   Failure to adhere to this policy may subject the student participant to disciplinary action.
   Failure of people to whom information is disclosed to maintain confidentiality may also
   subject the Brandeis student participant, and any other Brandeis student discloser, to
   disciplinary action.


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   The policy extends to documents (paper or electronic) and other evidence related to a
   conduct process.

   This policy is in no way intended to prevent any person from discussing the personal
   experiences that led to the initiation of the conduct process. For example, an aggrieved
   person (accuser) is not prevented from discussing facts or personal opinions about those
   facts as the student came to know them prior to the participation in a conduct process.
   Only new information about those facts that is learned in a conduct process is not
   sharable.

   This policy is not intended to discourage a Brandeis student from seeking advice or
   redress from oversight or judicial entities external to Brandeis.

   The University exercises careful discretion in sharing confidential information internally
   with professionals whose expertise or job function relate to the adjudication or support
   of participants. Additionally, the University may share confidential information with
   other institutions in which a student participant is enrolled. Whenever confidential
   information is shared, it will be as minimal or redacted as possible in order to balance the
   need for sharing with the interest of maximizing privacy.

   Brandeis is required by law to provide statistics and narrative information about certain
   confidential information. Personally identifiable information will be removed from such
   communications whenever possible.

   Questions about this policy should be directed to the DOS or to the Title IX Coordinator.


   Section 18. Procedural Standards in the Peer Review Process
   (PRP)
   18.0. The Peer Review Process: The PRP (formerly called the Student Conduct Process
   through the 2013‐14 academic year) is the formal conduct process that utilizes the clear
   and convincing evidence standard to adjudicate most allegations of “Rights and
   Responsibilities” that describe on‐campus behavior. Gender‐based harassment
   allegations are not adjudicated by the PRP, but rather the Special Examiner’s Process
   found in section 22. The DOS Office, pursuant to section 21, typically adjudicates off‐
   campus behavior.

   18.1. Preliminary Meeting: In cases where the Department of Student Rights and
   Community Standards (DSRCS) or the Director of Academic Integrity (DAI) decides that
   there is evidence of a violation that warrants referral to the PRP, the accused will be
   contacted to schedule the Preliminary Meeting with the appropriate administrator.
   Communication regarding conduct procedures and meetings will be through the
   student’s Brandeis email account (see section 1.9). Failure to respond to a request for a
   Preliminary Meeting within four business days constitutes an acceptance of
   responsibility for the charge(s). In such cases, the DDSRCS/DAI may proceed to
   sanctioning in accordance with section 18.3, or refer the matter to the Student Conduct
   Board (SCB) for sanctioning. In the event of extenuating circumstances, the DDSRCS/DAI
   may grant additional time for the choice. Note: If at the time of notification about a

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   assess the risk to the safety or well‐being of the Brandeis community and advise the DOS.
   The final decision on continuation of the suspension shall be made by the DOS. The
   procedural standards set forth in section 18 do not apply to indeﬁnite suspension.

   21.4. University Sanctions (Formal Adjudication for Off‐Campus Incidents and Non‐
   Brandeis Reporters): Brandeis University expects students to conduct themselves at all
   times as good citizens and good neighbors in a manner that is consistent with the federal,
   state and local laws and ordinances. Off‐campus student behavior that aggrieves any
   person, or on‐campus student behavior that aggrieves a non‐Brandeis community
   member, which, in the judgment of the DOS (DOS), constitutes behavior that is
   inconsistent with this code and adversely affects the University community, may result
   in sanctions and/or protective measures up to and including dismissal. A Brandeis
   student disciplined under this authority may request a meeting with the DOS and the SCB
   or the Outcome Panel (see section 22) (if the allegations include sexual misconduct or
   gender‐based misconduct). The SCB or Outcome Panel shall advise the DOS on the
   appropriateness of the sanction. The final decision shall be made by the DOS. The
   procedural standards set forth in section 18 do not apply to off‐campus behavior or
   university sanctions.

   21.5. Medical and Emotional Emergencies: Whenever a student’s conduct results in
   the intervention of the Brandeis Health Center, the Brandeis Psychological Counseling
   Center or a non‐Brandeis medical or psychological health care provider in order to
   prevent or address a student’s self‐harm or harm to others, or to address a student’s
   severe emotional or psychological distress, the DOS will establish an emergency protocol
   for that student. Any student who receives treatment from a non‐Brandeis medical or
   psychological health care provider under these circumstances must contact the DOS upon
   release.

   The DOS shall notify the student in writing of the emergency protocol and the basis for
   the protocol. Within three business days of notiﬁcation, the student shall have an
   opportunity to speak with the DOS, to discuss the protocol and provide information,
   including documentation by a health care provider, to contest the action(s) taken. The
   DOS shall then decide, at his/her discretion, whether to reinstate or restore the student’s
   privileges, to consider further action under this procedure or to take additional
   reasonable and appropriate steps.

   During the period begun by the emergency intervention and continuing until the
   conveyance of explicit written permission by the DOS to resume campus functions, a
   student subject to an emergency protocol is not permitted to access any campus property,
   facilities or attend any classes. There will be no exception for examinations or other time‐
   sensitive student activities or academic obligations. Failure to comply with this protocol
   may result in referral to the PRP as deﬁned in this document (see sections 2.1 and 2.2).


   Section 22. The Special Examiner’s Process
   In cases where the University receives a report from a willing accuser who is a current
   Brandeis community member (students, staff or faculty) and determines that one or
   more possible violations of section 3 or gender‐based behaviors from any other section
   exist, the case will be adjudicated by the SEP. This prompt, fair and impartial process is
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   described here in section 22 because it is distinct from the procedures described in the
   PRP found in section 18. When a student is accused of multiple violations for a single
   incident or cluster of related incidents, some of which are gender‐based and others of
   which are not, the SEP will be used to adjudicate all allegations simultaneously or in
   multiple SEPs as deemed appropriate by the DOS.

   Brandeis is committed to acknowledging and preserving the rights and responsibilities
   of all its students through all of its disciplinary procedures. In the event that the
   University is aware of possible student violations of section 3 or gender‐based behaviors
   related to any section of this code, but where there is no accuser, the DOS reserves the
   right to take action pursuant to their authority enumerated in section 21.

   Roles and Terms

   Confidentiality: The Confidentiality Policy, found in section 17, applies to the SEP.

   Community Standards Report (CSR): An official report to the University’s DOS Office
   about the behavior of a student or another person. A CSR may be submitted by a person
   who self‐identifies or by a person who wishes to remain anonymous. A CSR is required to
   initiate a formal adjudication process, though a CSR does not automatically initiate a
   formal adjudication process. The reporter must first self‐identify and choose to initiate a
   formal adjudication process, such as the SEP. Upon the choice to initiate a formal
   adjudication process, the reporter becomes an accuser. The CSR will be shown, in its
   entirety, to the accused student(s). This report is a web‐based form located at
   http://www.brandeis.edu/studentaffairs/srcs/reporting.html.

   Interim Measures: Due to the seriousness of sexual or gender‐based misconduct
   allegations and accompanying issues that may impact the Brandeis community, any
   student accused of sexual or gender‐based misconduct may be subject to interim
   measures, including: removal from certain roles or positions, University Actions and
   restrictions (see section 21.1) or Emergency Suspension (see section 21.2) pending the
   outcome of any investigation or formal disciplinary process. Interim Measures will
   typically be in effect until the conclusion of the SEP. The DOS, in conjunction with the Title
   IX Coordinator, reserves the right to maintain, amend, add or remove one or more Interim
   Measures at any time as deemed appropriate.

   Standard of Evaluation: This process will use the “Preponderance of the Evidence”
   standard in evaluating the responsibility of the accused. Under this standard, the accused
   is presumed not to have engaged in the alleged conduct unless a “preponderance of the
   evidence” supports a finding that the conduct occurred. A preponderance of evidence
   means a greater weight of evidence or more likely than not.

   Advisor: Any current member of the Brandeis community, including undergraduate and
   graduate students, faculty members, administrators and staff may serve as an advisor to
   the accuser or the accused. When co‐existing criminal proceedings exist, the community
   eligible to serve as an advisor may expand beyond the Brandeis community to include the
   party’s attorney. An advisor may not also serve as a witness.

   The role of any advisor is passive and does not include writing or speaking on behalf of a
   party throughout the duration of the SEP. Though a potentially important source of
   support and guidance, the advisor’s participation is not required for the party’s
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   progression through the SEP. The failure of a party to choose an advisor will not delay the
   progress of the SEP. The party is responsible for arranging for their advisor’s presence at
   SEP‐related meetings.

   An effective advisor combines a generous capacity for empathy with the party being
   supported with sensitivity toward assisting the party to communicate effectively and
   completely about their experiences during the SEP.

   Conflict of Interest: In our small community there is some likelihood that SEP
   participants may know each other. Reasonable care is taken to avoid conflicts of interest
   or perceived potential for bias.

   Director of Student Rights and Community Standards (DDSRCS): The Director
   receives reports and determines, in conjunction with the Care Team and the DOS,
   whether a Community Standards Report will be forwarded to the PRP or the SEP. The
   DDSRCS explains the SEP to the parties and collects preliminary information during the
   Statements Phase. The Co‐Examiner may also serve in place of, or in conjunction with, the
   DDSRCS in the SEP.

   Special Examiner: The examiner of allegations and related evidence regarding the
   allegation(s). During the Fact‐Finding Phase the Special Examiner will conduct an
   investigation and prepare a report of his/her recommended findings at the conclusion of
   the phase that is submitted to the DOS in support of the Responsibility Findings and/or
   Deliberations Phase of the process. The report will include three general components: 1)
   factual findings, 2) observations about the credibility of the participants and 3) opinions
   about whether a preponderance of the evidence exists for the allegation(s). Note: The
   DOS will make the final decision as to whether the accused is responsible for any
   allegations. The Special Examiner may be a University employee or a contracted, external
   expert. The Special Examiner is appointed by the SVPSE or designee.

   Co‐Examiner: A member of the faculty or staff, named by the Title IX compliance officer,
   who is present at all interviews involving the parties and witnesses held by the Special
   Examiner. The Co‐Examiner will contribute to the investigation by asking questions
   alongside the Special Examiner. The Co‐Examiner will advise the Special Examiner in the
   preparation of the report, but will not be responsible for the preparation of a separate
   report. The Co‐Examiner will also provide policy and procedural clarifications during
   interviews.

   Witness: Any person who was present during the alleged incident(s) or alleged
   behavior(s) or who has direct knowledge of the incident(s) or alleged behavior(s). A
   witness may not also serve as an advisor. Witness participation is voluntary. Rather than
   serving for one party or another, the witness serves the SEP in general. The participation
   of a willing witness will be at the discretion of the Special Examiner. Note: Any records
   or other evidence retained by the University may be subject to production by court order.

   Dean of Students (DOS): The DOS or designee conducts the Discussion Phase
   conversations with the parties and communicates findings to the parties made by the
   Special Examiner and the panel. The DOS is also responsible for rendering the final
   decision, during the Outcome Phase, as to any outcome for the accused, based on the
   recommendations of the Outcome Panel in the Deliberations Phase or based on
   recommendations of the UAB after any appeal.
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   Outcome Panel: A group of three University administrators and/or faculty, appointed by
   the DOS, who will receive the Special Examiner’s report (when the accused is found
   responsible for one or more charges) and make a recommendation to the DOS as to the
   outcome(s) for the accused during the Deliberations Phase.

   SEP Appeals Board: The SEP Appeals Board is a subset of the University Appeals Board
   described in sections 19.7 through 19.11. The membership of SEP Appeals Board includes
   only faculty; a board is comprised of three faculty voters and one tenured faculty
   chairperson. The procedures of the SEP Appeals Board differ from those of the University
   Appeals Board. Most significantly, if the SEP Appeals Board determines that a written
   request for an appeal has merit, it shall make recommendations to the DOS regarding the
   SEP outcome, rather than conduct any phase of the SEP anew.

   Time Frame: The SEP will be conducted deliberately and without unnecessary delay.
   Brandeis University strives to complete investigations within 60 calendar days following
   receipt of the complaint. Based on past experience, investigations may take longer
   depending on the complexity of the investigation and the severity and extent of the
   allegation.

   Timely Access to Information: Special Examiner’s Report will be made available (with
   appropriate redactions in accordance with applicable laws) to the accuser and the
   accused. Note: Any records or other evidence retained by the University may be subject
   to production by court order.

   Process

   Statements Phase: Subsequent to the receipt of a CSR, the available facts shall be
   gathered from the reporter, and a careful evaluation of these facts, as well as the
   credibility of the person reporting them, shall be made. Some reporters choose to limit
   the details or names of potential witnesses at the time of the CSR submission. While this
   is acceptable, the CSR must contain sufficient description of the allegations such that
   relevant citations from “Rights and Responsibilities” are identifiable. The accuser will
   discuss citations from the code with the DDSRCS/Co‐Examiner prior to contact with the
   accused. Discussion between the accuser and the DDSRCS/Co‐Examiner does not infer
   viability of the allegations, but only that a reasonable relationship might exist between
   the CSR’s narrative and one or more behaviors described in “Rights and Responsibilities.”
   The accused student will be informed of the citations simultaneous to the notification
   about the contents of the accuser’s CSR.

   Any other substantiating materials, such as email, text messages, photographs, records,
   names of witnesses, names, etc., should be submitted to the DDSRCS/Co‐Examiner.

   The DDSRCS/Co‐Examiner will discuss the phases of the SEP in full with the accuser,
   including the decision about the accuser’s choice of advisor. If the accuser is a Brandeis
   student, the discussion will also include dialog about ongoing efforts to support the
   student in a variety of non‐conduct‐related areas, such as medical and counseling
   services, academic support services, living arrangements, classroom assignments,
   directory information accessibility, travel considerations, etc. Further, the accuser will be
   reminded that the SEP does not substitute for the filing of a complaint with law
   enforcement. The accuser may initiate both processes. Information about initiating a
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   criminal complaint will be explained. Criminal investigations need not be initiated nor
   concluded prior to the initiation of the SEP.

   Note: In addition to the above interactions between the accuser and the DDSRCS/Co‐
   Examiner, the DOS Office, in conjunction with the Title IX Coordinator, will communicate
   with the accuser and the accused about any Interim Measures that the DOS Office may
   assign.

   Subsequent to the initial meeting with the accuser, the DDSRCS will contact the accused
   in writing (Brandeis email account) to inform the accused that a Community Standards
   Report (CSR) has been submitted. Within two business days, or as soon as is practicable,
   the accused will meet in‐person with the DDSRCS/Co‐Examiner. The DDSRCS/Co‐
   Examiner will show to the accused the CSR and suggest that the accused compose in
   writing a thorough response to the allegations described in the CSR. In addition to this
   response, any other substantiating materials, such as email, text messages, photographs,
   records, names of witnesses, names, etc., should be submitted to the DDSRCS/Co‐
   Examiner.

   The DDSRCS/Co‐Examiner will discuss the process in full with the accused, including the
   decision about the accused’s choice of advisor. Since the accused is always a Brandeis
   student, the discussion will also include dialog about ongoing efforts to support the
   student. Once the SEP is activated by a CSR, it may not be interrupted by the withdrawal
   from the University by the accused. The decision to withdraw from the University is one
   that any student should make in consultation with advisors, family, guardians, Academic
   Services or other trusted administrators or faculty.

   The accused must accept or deny responsibility for the allegations presented in the CSR.
   If the accused accepts responsibility, the DOS (DOS) will issue an outcome for the case,
   including disciplinary actions or sanctions. Notification will be made in writing (hand‐
   delivered paper copy) to the accuser and the accused. If the accused fails to cooperate
   prior to accepting or denying responsibility for the allegation(s), the DDSRCS/Co‐
   Examiner or the Special Examiner may consider the accused to have accepted
   responsibility, the party may forfeit their opportunity to participate in the SEP, and the
   Special Examiner will report accordingly to the DOS for the Outcome Notification.

   If the accused denies responsibility, the SEP will progress to the Fact‐Finding Phase.

   Cooperation by the parties with the Special Examiner is expected. If a party fails to
   respond to correspondence (see section 1.9) or attend a scheduled meeting with the
   DDSRCS/Co‐Examiner or Special Examiner, the DDSRCS or Special Examiner may resume
   the SEP in the party’s absence. A party shall have the right to one rescheduled meeting if
   the failure to attend the originally scheduled meeting was through no fault of their own
   as determined by the Special Examiner or the DDSRCS/Co‐Examiner.

   At any point during the SEP, any party is entitled to change their initial course of action.
   For example, an accuser may drop one or more charges, and an accused may accept
   responsibility.

   Fact‐Finding Phase: The Special Examiner and the Co‐Examiner will conduct the Fact‐
   Finding Phase based both on materials and information offered by the parties during the

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   Statements Phase, as well as other materials and information discovered in the course of
   this phase.

   Documents and Other Physical Evidence: In addition to information and materials
   submitted during the Statements Phase, the parties and other witnesses, identified either
   by the parties or by the Special Examiner, may be added to the record for consideration
   during the Fact‐Finding Phase. Documents and other physical evidence deemed by the
   Special Examiner to be of material importance to the Deliberations Phase will be logged
   and shared equally with the parties to ensure the opportunity for response. The Special
   Examiner retains the discretion not to share certain records due to confidentiality
   concerns, in accordance with applicable law. Note: Any records or other evidence
   retained by the University may be subject to production by court order.

   Interviews with Parties and Witnesses: Interviews with the parties, witnesses and
   experts will also be conducted at the discretion of the Special Examiner. The Special
   Examiner will secure written release as necessary to access pertinent records protected
   by confidentiality and privacy policies and laws. The Special Examiner will determine
   who will be interviewed, as well as how many times and in what order individuals will be
   interviewed.

   Interviews with the Accuser and Accused: Interviews with the parties will be
   conducted separately and in‐person when possible. These interviews will address not
   only the facts of the case but also the impacts that the accounts have had on them. The
   Special Examiner will be joined at all interviews by a Co‐Examiner, whose role is to ask
   questions and clarify policy or procedural questions. The parties are entitled (though not
   required) to be joined by their advisor, if one has been selected, during all interviews with
   the Special Examiner and Co‐Examiner.

   Interviews of Witnesses: Interviews of witnesses named by the parties during the
   Statements Phase or Fact‐Finding Phase of the SEP as well as those identified by the
   Special Examiner, may be conducted in‐person, by telephone or by use of Internet‐based
   tools at the discretion of the Special Examiner. Some witnesses may not be local or easily
   accessible, and the Special Examiner will make a good‐faith effort to contact all pertinent
   witnesses. Expert witnesses may be consulted to verify materials or provide opinions
   about information or documents submitted by the parties. Note: Any records or other
   evidence retained by the University may be subject to production by court order.

   Special Examiner’s Report: Upon conclusion of all interviews and collection of all
   known documents and materials deemed necessary by the Special Examiner, the Special
   Examiner will assemble a report for the DOS that summarizes factual findings, offers
   conclusions about the credibility of testimony and offers opinions about whether the
   accused is responsible or not responsible for any or all charges. Note: Any records or
   other evidence retained by the University may be subject to production by court order.

   Discussion Phase: This phase of the SEP provides the accuser and the accused with
   separate meeting opportunities with the DOS to learn about and respond to the findings
   made by the Special Examiner.

   The parties, in separate meetings, will receive a printed copy of the Special Examiner’s
   report and engage in dialog with the DOS about the report. Each party will have two
   business days within which to provide new, pertinent information or names of witnesses
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   for the DOS’s consideration. If after the meetings with the parties and after the
   submission of any new information or witness names, the DOS seeks additional fact‐
   finding, the DOS will request the Special Examiner to make any and all necessary
   inquiries. The Special Examiner will submit a supplemental report to the DOS based on
   the new inquiries. The DOS retains the discretion to hold another round of meetings with
   the parties to discuss the new findings.

   Responsibility Findings: If the accused is found not responsible for all charges, the DOS
   will contact the parties in writing (hand‐delivered paper copy) within two business days
   under usual circumstances.

   If the accused is found responsible for one or more charges, the SEP will progress to the
   Deliberations Phase.
   Deliberations Phase: This phase of the SEP involves a panel of three University
   administrators and/or faculty, appointed by the DOS, who will receive the Special
   Examiner’s report and make recommendations as to the outcome(s) for the accused. The
   DOS will not serve on the panel.

   The panel will consult the Special Examiner’s report and will be entitled to interview the
   Special Examiner. The panel will not interview the parties, witnesses or other experts or
   individuals. Upon voting, the panel will communicate its recommendations about the
   outcome(s) for the accused to the DOS. The DOS will render the final decision as to any
   outcomes.

   Outcome Notification: The DOS will communicate the final outcome(s) decision in
   writing (hand‐delivered paper copy) to the accuser and the accused within seven days
   under usual circumstances. The accuser will be informed of any sanctions that relate to
   them in accordance with applicable laws.

   Any and all sanctions, including suspension or dismissal, will be in effect immediately,
   regardless of any appeal that may be submitted by the parties.

   Appeals Procedures: The accuser and the accused are entitled to appeal the final
   decision in the SEP to the University Appeals Board (UAB). The UAB’s composition, when
   engaged in a SEP, will differ from what is described in section 19.8. Faculty members will
   serve as UAB members; students will not. Such appeal requests shall be based only on
   speciﬁc evidence, presented in writing of:

            1. Fraud
            2. Denial of rights under this process
            3. Procedural error
            4. The claim of new evidence not previously available, which would have
            materially affected the decision

   Appeals shall not be based upon, or granted due to, dissatisfaction with an imposed
   sanction. Appeals must be ﬁled within seven business days of delivery of the DOS’s final
   decision. Appeals that are not related to the above four bases will not be considered. On
   the first business day after the conclusion of the appeal deadline, the DOS will alert the
   parties by email that one or more appeals have been filed. The appellee will be permitted
   to receive a printed copy of the appeal and will be permitted to submit a statement to the
   UAB in response to the appeal within seven business days. The Special Examiner will
   ______________________________________________________________________
   Rights and Responsibilities, 2014-2015                                           56
